Case 1:16-cv-00745-PLF Document 4 Filed 04/26/16 Page 1 of 3
Case 1:16-cv-00745-PLF Document 4 Filed 04/26/16 Page 2 of 3
                    Case 1:16-cv-00745-PLF Document 4 Filed 04/26/16 Page 3 of 3
                       Case 1:16-cv-00745-ESH Document 3 Filed 04/22/16 Page 3 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          District
                                                    __________     of Columbia
                                                                District of __________
    NATIONAL VETERANS LEGAL SERVICES
PROGRAM, NATIONAL CONSUMER LAW CENTER,
                                                                      )
and ALLIANCE FOR JUSTICE, for themselves and all                      )
            others similarly situated                                 )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 16-cv-745-ESH
                                                                      )
                                                                      )
                  United States of America                            )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION
                                           UNITED STATES OF AMERICA
To: (Defendant’s name and address) c/o Civil Process Clerk
                                           United States Attorney's Ofﬁce for the District of Columbia
                                           555 4th Street, NW
                                           Washington, DC 20530




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Deepak Gupta
                                       Gupta Wessler PLLC
                                       1735 20th Street, NW
                                       Washington, DC 20009
                                       (202) 888-1741
                                       deepak@guptawessler.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:        4/22/2016                                                               /s/ Jean-Claude Douyon
                                                                                           Signature of Clerk or Deputy Clerk
